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                        UNITED STATES DISTRICT COURT FOR
                         THE NORTHERN DISTRICT OF OHIO

STEPHEN BUSHANSKY, Derivatively on behalf of
KEYCORP,                                                    Case No.

                             Plaintiff,

              vs.

CHRISTOPHER M. GORMAN, ALEXANDER M.
CUTLER, H. JAMES DALLAS, ELIZABETH R.
GILE, RUTH ANN M. GILLIS, ROBIN N. HAYES,
CARLTON L. HIGHSMITH, RICHARD J. HIPPLE,
DEVINA A. RANKIN, BARBARA R. SNYDER,
RICHARD J. TOBIN, TODD J. VASOS, and DAVID              Jury Demand
K. WILSON,                                              Endorsed Hereon

                             Defendants,

              -and-

KEYCORP,

                             Nominal Defendant.


                VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT

       Plaintiff Stephen Bushansky by his undersigned attorneys, brings this stockholder

derivative action on behalf of nominal defendant KeyCorp (the “Company”) against the

Company’s Board of Directors (the “Board” or the “Individual Defendants”) for their breaches of

fiduciary duties, and other misconduct that resulted in material damage to the Company and its

stockholders. These allegations are made upon personal knowledge with respect to Plaintiff and,

as to all other matters, upon information and belief based upon the investigation and analysis by

Plaintiff’s counsel, including, among other things, a review of the Company’s press releases and

public filings with the United States Securities and Exchange Commission (“SEC”), corporate

governance documents published on the Company’s website, transcripts of KeyCorp conference

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calls with financial analysts and investors, news reports, financial analyst reports, and other

publicly available information about the Company. Plaintiff believes that substantial additional

evidentiary support will exist for the allegations after a reasonable opportunity for discovery.

I.          NATURE OF THE ACTION

           1.     This is a stockholder derivative action brought against the current members of the

KeyCorp Board for their breaches of fiduciary duties and violations of the federal securities laws,

as well as other misconduct, which resulted in substantial damage to the Company and its

stockholders.

           2.     In public filings, the Company repeatedly represented that it was actively managing

its liquidity risks and maintaining an adequate liquid asset portfolio. However, in March 2023, the

Company disclosed a mere 1-4% increase in Net Interest Income (“NII”), 1 a key financial metric

for the bank, versus the previous guidance of a 6%-9% increase announced less than two months

earlier.

           3.     Despite reassurances given regarding the Company’s liquidity position, on June 12,

2023, KeyCorp warned that its NII would likely drop by 12% in the second quarter despite

previous guidance of a 4%-5% decrease for the quarter. On the news of the negative financial

guidance, KeyCorp’s stock price fell over 4% in one day, and more than 45% in less than one

month.

           4.     In the wake of these disclosures and the massive stock drop, a securities class action

was filed against the Company and certain of its directors and officers. As such, the Company is

now subject to substantial liability and will be forced to expend substantial sums to defend itself,

as well as its directors and officers.



1
     Net Interest Income.
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        5.      As a result of the Individual Defendants’ breaches of fiduciary duty and other

misconduct, KeyCorp has sustained substantial damage and irreparable injury to its reputation.

Through this action, Plaintiff seeks to recover for the Company its damages and remediate the

internal control weaknesses that afflict KeyCorp.

        6.      Plaintiff did not make a demand prior to bringing this action because it would be

futile. The Company’s directors are neither disinterested nor independent. In the absence of this

action, KeyCorp will neither recover its damages nor properly remediate the weaknesses in its

internal controls and corporate governance practices and procedures.

II.          JURISDICTION AND VENUE

        7.      This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Sections 14(a) of the Securities Exchange Act of

1934 (the “Exchange Act”), SEC Rule 14a-9 (17 C.F.R. § 240.14a-9) promulgated thereunder, and

under Section 21D of the Exchange Act. This Court has supplemental jurisdiction over Plaintiff’s

state law claims pursuant to 28 U.S.C. § 1367(a).

        8.      The Court has jurisdiction over each Defendant named herein because KeyCorp is

incorporated, maintains its headquarters, and does substantial business in this District. As such,

each Defendant is an individual or corporation who has sufficient minimum contacts with this

District to render the exercise of jurisdiction by this Court permissible under traditional notions of

fair play and substantial justice.

        9.      This action was not brought collusively to confer jurisdiction on a court of the

United States that it would not otherwise have.




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       10.     Venue is proper in this District pursuant to § 27 of the Exchange Act, 15 U.S.C. §

78aa, and 28 U.S.C. § 1391(b), where the Company maintains its headquarters and where it

conducts substantial business.

III.        PARTIES

       A.      Plaintiff

       11.     Plaintiff Stephen Bushansky purchased KeyCorp stock on April 2, 2004, and has

held KeyCorp common stock continuously since that time. As such, Plaintiff was a shareholder

at the time of the transactions complained of herein.

       B.      Defendants

               1.     Nominal Defendant KeyCorp
       12.     Nominal Defendant KeyCorp is incorporated under the laws of Ohio with its

principal executive offices located at 127 Public Square, Cleveland, Ohio 44114-1306. Key’s

common shares trade on the New York Stock Exchange (“NYSE”) under the ticker symbol

“KEY”.

               2.     Individual Defendants
       13.     Defendant Christopher M. Gorman (“Gorman”) is the Chairman of the Board and

Chief Executive Officer (“CEO”) of KeyCorp and has been a director since 2019. Gorman has

served in several leadership roles in his twenty-five years at the Company, including as KeyCorp’s

Chief Operating Officer and President of Banking. As of March 17, 2023, Gorman owns 975,775

KeyCorp shares. Since 2020, Gorman received the following compensation:




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                                                                   CHANGE
                                                    NON-EQUITY        IN
                           STOCK       OPTIONS    INCENTIVE PLAN   PENSION      ALL OTHER
    YEAR     SALARY       AWARDS       AWARDS     COMPENSATION     VALUE 2    COMPENSATION  TOTAL
     2022    $1,150,000   $6,479,961   $719,997      $2,025,000     $14,895       $73,774  $10,463,627
     2021    $1,000,000   $3,869,989   $429,997      $3,300,000     $15,862       $37,636  $8,653,484
     2020     $927,692    $2,879,987   $320,000      $1,710,000     $25,425       $27,551  $5,890,655

            14.     Defendant Alexander M. Cutler (“Cutler”) is a KeyCorp director since 2000 and is

Chair of the Nominating and Corporate Governance Committee and a member of the

Compensation and Organization Committee and the Executive Committee. As of March 17, 2023,

Cutler owns 252,553 KeyCorp shares. In 2022, Cutler received the following compensation:

                   FEES EARNED                                STOCK
                  OR PAID IN CASH                            AWARDS                   TOTAL
                      $160,000                               $134,991                 $294,991

            15.     Defendant H. James Dallas (“Dallas”) is a KeyCorp director since 2005 and is Chair

of the Technology Committee and a member of the Audit Committee and the Nominating and

Corporate Governance Committee. As of March 17, 2023, Dallas owns 115,172 KeyCorp shares.

In 2022, Dallas received the following compensation:

                   FEES EARNED                               STOCK
                  OR PAID IN CASH                           AWARDS                   TOTAL
                      $135,000                              $134,991                 $269,991

            16.     Defendant Elizabeth R. Gile (“Gile”) is a KeyCorp director since 2010 and is Chair

of the Risk Committee and a member of the Nominating and Corporate Governance Committee.

As of March 17, 2023, Gile owns 36,767 KeyCorp shares. In 2022, Gile received the following

compensation:

                   FEES EARNED                               STOCK
                  OR PAID IN CASH                           AWARDS                   TOTAL
                      $135,000                              $134,991                 $269,991



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    Includes Nonqualified Deferred Compensation Earnings

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       17.     Defendant Ruth Ann M. Gillis (“Gillis”) is a KeyCorp director since 2009 and is a

member of the Audit Committee and the Technology Committee. As of March 17, 2023, Gillis

owns 168,361 KeyCorp shares. In 2022, Gillis received the following compensation:


               FEES EARNED                           STOCK
              OR PAID IN CASH                       AWARDS                  TOTAL
                  $110,000                          $134,991                $244,991

       18.     Defendant Robin N. Hayes (“Hayes”) is a KeyCorp director since 2020 and is a

member of the Risk Committee and the Technology Committee. As of March 17, 2023, Hayes

owns 9,074 KeyCorp shares. In 2022, Hayes received the following compensation:

              FEES EARNED                           STOCK
             OR PAID IN CASH                       AWARDS                  TOTAL
                 $110,000                          $134,991                $244,991

       19.     Defendant Carlton L. Highsmith (“Highsmith”) is a KeyCorp director since 2016

and is a member of the Risk Committee and the Nominating and Corporate Governance

Committee. As of March 17, 2023, Highsmith owns 64,139 KeyCorp shares. In 2022, Highsmith

received the following compensation:

              FEES EARNED                           STOCK
             OR PAID IN CASH                       AWARDS                  TOTAL
                 $110,000                          $134,991                $244,991

       20.     Defendant Richard J. Hipple (“Hipple”) is a KeyCorp director since 2012 and is

Chair of the Audit Committee and a member of the Nominating and Corporate Governance

Committee and Executive Committee. As of March 17, 2023, Hipple owns 66,174 KeyCorp

shares. In 2022, Hipple received the following compensation:

              FEES EARNED                        STOCK
             OR PAID IN CASH                    AWARDS                    TOTAL
                 $135,000                       $134,991                  $269,991



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       21.      Defendant Devina A. Rankin (“Rankin”) is a KeyCorp director since 2020 and is a

member of the Audit Committee and the Technology Committee. In 2022, Rankin received the

following compensation:

              FEES EARNED                           STOCK
             OR PAID IN CASH                       AWARDS                  TOTAL
                 $110,000                          $134,991                $244,991

       22.      Defendant Barbara R. Snyder (“Snyder”) is a KeyCorp director since 2010 and is

Chair of the Compensation and Organization Committee and a member of the Nominating and

Corporate Governance Committee and the Executive Committee. As of March 17, 2023, Snyder

owns 20,602 KeyCorp shares. In 2022, Snyder received the following compensation:

              FEES EARNED                            STOCK
             OR PAID IN CASH                        AWARDS                  TOTAL
                 $120,000                           $134,991                $254,991

       23.      Defendant Richard J. Tobin (“Tobin”) is a KeyCorp director since 2021 and is a

member of the Compensation and Organization Committee and the Technology Committee. In

2022, Tobin received the following compensation:

              FEES EARNED                            STOCK
             OR PAID IN CASH                        AWARDS                   TOTAL
                 $95,000                            $134,991                 $229,991

       24.      Defendant Todd J. Vasos (“Vasos”) is a KeyCorp director since 2020 and is a

member of the Compensation and Organization Committee and the Technology Committee. As

of March 17, 2023, Vasos owns 8,000 KeyCorp shares. In 2022, Vasos received the following

compensation:

              FEES EARNED                            STOCK
             OR PAID IN CASH                        AWARDS                  TOTAL
                 $95,000                            $134,991                $229,991




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        25.     Defendant David K. Wilson (“Wilson”) is a KeyCorp director since 2014 and is a

 member of the Risk Committee. As of March 17, 2023, Wilson owns 32,558 KeyCorp shares. In

 2022, Wilson received the following compensation:

               FEES EARNED                              STOCK
              OR PAID IN CASH                          AWARDS                     TOTAL
                  $110,000                             $134,991                   $244,991

IV.        THE INDIVIDUAL DEFENDANTS’ DUTIES

        26.     By reason of their positions as officers or directors of KeyCorp and because of their

 ability to control the business and corporate affairs of the Company, the Individual Defendants

 owed and owe KeyCorp and its shareholders, fiduciary obligations of loyalty, good faith, due care,

 and candor, and were and are required to use their utmost ability to control, manage, and oversee

 KeyCorp in a fair, just, honest, and equitable manner. The Individual Defendants were and are

 required to act in furtherance of the best interests of KeyCorp and its shareholders to benefit all

 shareholders equally and not in furtherance of their own personal interests or benefit.

        27.     The Individual Defendants, because of their positions of control and authority as

 directors and officers of KeyCorp, were able to and did, directly and/or indirectly, exercise control

 over the wrongful acts complained of herein.

        28.     As officers and directors of a publicly traded company whose common stock was

 registered with the SEC and traded on the NYSE, the Individual Defendants also owed a duty to

 ensure the dissemination of accurate, complete, and truthful information concerning KeyCorp’s

 financial condition, operations, products, internal controls, and business prospects. In addition, the

 Individual Defendants had a duty to cause the Company to disclose in its regulatory filings with

 the SEC all material facts so that the market price of the Company’s shares would be based upon

 accurate information. In order to meet these duties, the Individual Defendants were required to



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exercise reasonable control and supervision over KeyCorp’s management, policies, and internal

controls.

       29.     At all times relevant hereto, the Individual Defendants were the agents of each other

and KeyCorp and were always acting within the course and scope of such agency.

       30.     The Individual Defendants were and are also subject to particularized duties

pursuant to specific policies in effect at KeyCorp.

       A.      Duties Under The Code Of Business Conduct And Ethics

       31.     KeyCorp’s Code of Business Conduct and Ethics (“Code of Conduct”) applies to

all KeyCorp employees and its Board.

       32.     In the introduction to the Code of Conduct, Defendant Gorman emphasizes the

importance of acting with exemplary professional and ethical standards: “We all have a

responsibility to make good choices and to act according to the highest professional and ethical

standards in everything we do.”

       33.     The Code of Conduct requires the reporting of any violation of the Code of

Conduct:

       As a Key employee or member of Key’s Board of Directors, you are obligated to
       both comply with the Code and to speak up when you suspect or witness a potential
       violation of the Code. Failure to report violations may lead to disciplinary action,
       including termination of your employment and legal action.
       So when something doesn’t seem right, you are responsible—and accountable—to
       speak up.
       34.     The Code of Conduct requires compliance with the Code as part of KeyCorp’s risk

management program.

       35.     The Code of Conduct requires that “employees and members of the KeyCorp Board

of Directors” assist the Company with adherence to all applicable laws and regulations, including

applicable securities laws:

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       We expect our employees and members of the KeyCorp Board of Directors to help
       us adhere to all applicable laws and regulations. We are obligated to comply with
       all applicable country, federal, state, and local laws, rules, and regulations. This
       includes all applicable securities laws and regulations, accounting standards,
       accounting controls, and auditing practices.
       36.     The Code of Conduct obligates full and fair disclosure in all reports, documents,

and public communications: “You are required to make full, fair, accurate, timely, and

understandable disclosure in reports and documents that Key[Corp] files with or submits to

regulatory agencies, and in other public communications made by Key[Corp].”

       37.     The Code of Conduct emphasizes the development and maintenance of internal

accounting controls:

       Key is required by law to develop and maintain systems of internal accounting
       controls. Each of us has a responsibility for ensuring that all of Key’s financial and
       business records meet the highest standards of accuracy and completeness. We
       provide accurate information about Key’s business in a timely and complete
       manner. We must ensure that the preparation of financial statements, reports, and
       accounts is in accordance with all applicable laws, rules, and accounting principles.
       38.     The Code of Conduct requires the reporting of “questionable accounting or auditing

matters” directly to the Audit Committee.

       B.      Additional Duties Of Audit Committee Members

       39.     The Audit Committee Charter sets forth additional duties for members of the Audit

Committee and provides that members are obligated to assist the Board in its oversight of, among

other things, internal audit, financial reporting and legal matters; the integrity of the Company’s

financial statements; and the Company’s compliance with legal and regulatory requirements.

       40.     The Audit Committee members are required to, among other things:

               •   Meet with management and the independent auditors to discuss and review the
                   Corporation’s quarterly financial statements including reviewing specific
                   disclosures made in management’s discussion and analysis;




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               •   Discuss generally with management the Corporation’s earnings press releases
                   as well as financial information and earnings guidance, if any, provided to
                   analysts and rating agencies;

               •   Review with the Corporation's General Counsel legal matters that may have a
                   material impact on the financial statements and review with the Chief Risk
                   Officer or his or her designee and the General Counsel, as appropriate, any
                   material reports or inquiries received from regulators or government agencies
                   raising significant issues as to compliance with applicable laws;

               •   Meet with management and, in particular, the Chief Risk Review Officer and
                   General Auditor, to discuss the process by which risk review is undertaken.
                   Additionally, this Committee shall have responsibility over all risk review
                   functions (including internal audit), financial reporting, legal matters, and fraud
                   risk. Further, the Committee shall consider matters pertaining to significant risk
                   issues interwoven with or otherwise arising out of other risks and matters within
                   the Committee’s jurisdiction;

               •   Review and approve “significant” policies (as defined in KeyCorp’s Policy
                   Governance Policy) relating to the risk areas overseen by the Committee;

               •   With the Risk Committee, (i) review and provide oversight of the Corporation’s
                   methodology for setting the allowance for loan and lease losses to insure that it
                   appropriately reflects risk in the portfolio; (ii) review trends relating to non-
                   performing assets and charge-offs, and determinations made by management
                   about the appropriate level and adequacy of the allowance for loan and lease
                   losses; (iii) ensure maintenance by management of appropriate documentation
                   that will provide transparency into model precision adjustments and (iv)
                   oversee and monitor operational risk, subject to the Risk Committee’s final
                   responsibility for operational risk oversight; and

               •   Receive reports on enterprise risk (including compliance risk).

       C.      Additional Duties Of Risk Committee Members

       41.     The Risk Committee Charter sets forth additional duties for members of the Risk

Committee and provides that members are “responsible strategies, policies, procedures and

practices relating to the assessment and management of the Corporation’s enterprise-wide risk,

including risks related to capital adequacy, capital planning, and capital actions.”

       42.     The Risk Committee members are required to, among other things:



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              •   Review, at least annually, the Corporation’s Enterprise Risk Management
                  (“ERM”) Policy, which includes the Corporation’s Risk Appetite Statement,
                  and recommend the ERM Policy to the Board for its approval;

              •   Receive and review periodic reports to monitor such risks in relation to the
                  Corporation’s risk appetite and risk tolerances, including the overall liquidity
                  position of the Corporation and liquidity management and funding strategies to
                  assure consistency with the Corporation’s strategic plans;

              •   In consultation with the Audit Committee, (i) review management’s
                  methodology for setting the allowance for loan and lease losses, and evaluating
                  changes to the methodology to ensure that it appropriately reflects risk in the
                  portfolio, (ii) review trends relating to non-performing assets and charge-offs,
                  and determinations made by management about the appropriate level and
                  adequacy of the allowance for loan and lease losses, (iii) ensure appropriate
                  documentation is maintained by management to provide transparency into
                  model precision adjustments, and (iv) oversee and monitor operational risk,
                  with the Risk Committee retaining final responsibility for operational risk,
                  including review and approval of significant operational risk policies;

              •   Periodically review with management the strategies, policies, procedures and
                  practices that govern the process for assessing and managing risks identified in
                  the ERM Policy in the context of the Corporation’s structure, risk profile,
                  complexity, activities and size;

              •   Receive and review periodic reports from the Corporation’s Chief Risk Officer
                  regarding the monitoring and control of risk exposure including top and
                  emerging regulatory and industry risks;

              •   Review and approve, or recommend for approval to the Board as applicable,
                  significant policies relating to risk management;

              •   Review and monitor significant regulatory examination or supervisory findings
                  and the status of the Corporation’s efforts to remediate or remedy any
                  deficiencies; and

              •   Receive and review periodic reports to monitor risks relating to capital
                  management and related risk matters in relation to the Corporation’s risk
                  appetite and risk tolerances.

       D.     Additional Duties of Nominating and Corporate Governance
              Committee Members

       43.    The Charter of the Nominating and Corporate Governance Committee sets forth

additional duties for its members, including obligations relating to overseeing the development

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and adequacy of the Corporate Governance Guidelines including, annually reviewing and

recommending to the Board changes, if any in the Corporate Governance Guidelines.

V.         SUBSTANTIVE ALLEGATIONS

         A.     Background

         44.    KeyCorp is the holding company for KeyBank, one of the United States’ largest

bank-based financial services companies with assets of approximately $195 billion. According to

the Company’s latest Annual Report on Form 10-K filed with the SEC on February 22, 2023 (the

“2023 10-K”), KeyCorp’s earnings are “largely dependent” upon Net Interest Income (“NII”), i.e.,

the difference between interest income earned on interest-earning assets such as loans and

securities and interest expense paid on interest-bearing liabilities such as deposits and borrowed

funds.

         B.     The Individual Defendants Acknowledged The Need To Implement And
                Monitor Internal Controls Regarding The Material Risks Over KeyCorp’s
                Core Operations

         45.    On February 26, 2020, the Company filed with the SEC its Annual Report on Form

10-K for the period ended December 31, 2019 (the “2019 10-K”) which was signed by Defendants

Gorman, Cutler, Gile, Gillis, Highsmith, Hipple, Snyder and Wilson.

         46.    In the 2019 10-K, Defendants Gorman, Cutler, Gile, Gillis, Highsmith, Hipple,

Snyder and Wilson acknowledged their awareness of the materials risks in connection with

meeting the liquidity standards imposed by regulators:

         The Federal Reserve’s capital standards require Key to maintain more and higher
         quality capital and could limit our business activities (including lending) and our
         ability to expand organically or through acquisitions. They could also result in our
         taking steps to increase our capital that may be dilutive to shareholders or limit our
         ability to pay dividends or otherwise return capital to shareholders.
         In addition, the liquidity standards require us to hold high-quality liquid assets, may
         require us to change our future mix of investment alternatives, and may impact
         future business relationships with certain customers. Additionally, support of

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        liquidity standards may be satisfied through the use of term wholesale borrowings,
        which tend to have a higher cost than that of traditional core deposits.
        47.       These directors acknowledged their awareness of the materials risks in connection

with the impact of liquidity levels on access to and cost of funding:

        [A] substantial, unexpected, or prolonged change in the level or cost of liquidity
        could have a material adverse effect on us. If the cost effectiveness or the
        availability of supply in these credit markets is reduced for a prolonged period of
        time, our funding needs may require us to access funding and manage liquidity by
        other means. These alternatives may include generating client deposits, securitizing
        or selling loans, extending the maturity of wholesale borrowings, borrowing under
        certain secured borrowing arrangements, using relationships developed with a
        variety of fixed income investors, and further managing loan growth and
        investment opportunities. These alternative means of funding may result in an
        increase to the overall cost of funds and may not be available under stressed
        conditions, which would cause us to liquidate a portion of our liquid asset portfolio
        to meet any funding needs.
        48.       These directors also acknowledged their awareness of the importance of managing

liquidity risk:

        Liquidity risk, which is inherent in the banking industry, is measured by our ability
        to accommodate liability maturities and deposit withdrawals, meet contractual
        obligations, and fund new business opportunities at a reasonable cost, in a timely
        manner, and without adverse consequences. Liquidity management involves
        maintaining sufficient and diverse sources of funding to accommodate planned, as
        well as unanticipated, changes in assets and liabilities under both normal and
        adverse conditions.
        49.       All subsequent Quarterly Reports and Annual Reports throughout 2020, 2021, and

2022, including the Company’s Annual Report on Form 10-K filed with the SEC on February 22,

2022, for the period ended December 31, 2021 (“2021 10-K”), which was signed by all of the

Individual Defendants, contained similar statements acknowledging the risks in connection with

managing liquidity levels and the related costs.

        C.        The Company Represents That It Actively Manages Its Liquidity Risks
                  And Maintains An Adequate Liquid Asset Portfolio

        50.       On January 23, 2020, the Company filed with the SEC a Current Report on Form

8-K and attached a press release announcing the fourth quarter and full year 2019 financial results,

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including net income of $439 million for the fourth quarter of 2019, compared to $383 million in

the previous quarter. The Company also reported overall taxable-equivalent NII of $987 million

for the fourth quarter of 2019, compared to $1.0 billion for the fourth quarter of 2018. In particular,

in the consumer bank segment: “Taxable equivalent net interest income decreased by $12 million,

or 2.0%, from the fourth quarter of 2018, with balance sheet growth offset by lower purchase

accounting accretion and change in deposit mix.” The Company reported that “[t]he decrease in

net interest income reflects a lower net interest margin” which was “impacted by a lag in deposit

pricing as interest rates moved lower.”

       51.     In the press release, then-CEO Beth Mooney (“Mooney”) touted the Company’s

“seventh consecutive year of positive operating leverage, supported by solid balance sheet growth,

continued momentum in our fee-based businesses and strong expense control.” Mooney also noted

KeyCorp’s top priorities of “[s]trong risk management and being disciplined with our capital.”

       52.     On the same day, the Company held a conference call with financial analysts and

investors to discuss the financial results. On the call, Chief Financial Officer (“CFO”) Donald

Kimble (“Kimble”) represented that the Company was managing its liquidity position and had

ample liquidity reserves: “So we’ve got a lot of room to move that liquidity position down and

remix into more loans. And so that’s why we feel comfortable with our guidance as far as relatively

stable margin and could have some potential upside if that liquidity level gets absorbed quicker

than what our forecast would suggest.”

       53.     CEO Mooney commented on the Company’s “moderate risk profile,” “strong credit

underwriting,” and “strong capital position”: “We believe that our steadfast commitment to

maintaining our moderate risk profile and strong credit underwriting will continue to serve us well.




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And we have continued to maintain a strong capital position while returning a significant amount

of our capital to our shareholders through dividends and share repurchases.”

         54.      Defendant Gorman, at that time the President and Chief Operating Officer of

KeyCorp, discussed the importance of maintaining the Company’s risk profile and capital position.

         [T]here is nothing more important than maintaining our moderate risk profile. This
         is an area where we underperformed through the last downturn, and we are
         committed to outperform through the next business cycle. And finally, we will be
         disciplined with our capital. As you’ve probably heard me say, we are focused on
         the return on and the return of capital.

         55.      In the 2019 10-K, Defendants Gorman, Cutler, Gile, Gillis, Highsmith, Hipple,

Snyder, and Wilson represented that the Company had a more than sufficient liquid asset portfolio

to manage through an adverse liquidity event:

         Over the past 12 months, our liquid asset portfolio, which includes overnight and
         short-term investments, as well as unencumbered, high quality liquid securities held
         as protection against a range of potential liquidity stress scenarios, has increased as
         a result of an increase in unpledged securities, partially offset by lower balances
         held at the Federal Reserve. The liquid asset portfolio continues to exceed the
         amount that we estimate would be necessary to manage through an adverse
         liquidity event by providing sufficient time to develop and execute a longer-term
         solution. 3
         56.      Defendants Gorman, Cutler, Gile, Gillis, Highsmith, Hipple, Snyder and Wilson

represented that the Board, and other relevant committees and officers were actively managing its

liquidity risk:

         The management of consolidated liquidity risk is centralized within Corporate
         Treasury. Oversight and governance is provided by the Board, the ERM
         Committee, the ALCO, and the Chief Risk Officer. The Asset Liability
         Management Policy provides the framework for the oversight and management of
         liquidity risk and is administered by the ALCO. The Corporate Treasury Oversight
         group within the MRM, as the second line of defense, provides additional oversight.
         Our current liquidity risk management practices are in compliance with the Federal
         Reserve Board’s Enhanced Prudential Standards.



3
    All emphasis herein is added unless otherwise noted.
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        These committees regularly review liquidity and funding summaries, liquidity
        trends, peer comparisons, variance analyses, liquidity projections, hypothetical
        funding erosion stress tests, and goal tracking reports. The reviews generate a
        discussion of positions, trends, and directives on liquidity risk and shape a number
        of our decisions. When liquidity pressure is elevated, positions are monitored more
        closely and reporting is more intensive. To ensure that emerging issues are
        identified, we also communicate with individuals inside and outside of the company
        on a daily basis.
        57.     Defendants Gorman, Cutler, Gile, Gillis, Highsmith, Hipple, Snyder, and Wilson

represented that the Company was managing liquidity risk exposure:

        Most of our liquidity risk is derived from our lending activities, which inherently
        places funds into illiquid assets. Liquidity risk is also derived from our deposit
        gathering activities and the ability of our customers to withdraw funds that do not
        have a stated maturity or to withdraw funds before their contractual maturity. The
        assessments of liquidity risk are measured under the assumption of normal
        operating conditions as well as under a stressed environment. We manage these
        exposures in accordance with our risk appetite, and within Board-approved policy
        limits.

        58.     Defendants Gorman, Cutler, Gile, Gillis, Highsmith, Hipple, Snyder, and Wilson

represented that the Company was monitoring its liquidity position and funding sources:

        We regularly monitor our liquidity position and funding sources and measure our
        capacity to obtain funds in a variety of hypothetical scenarios in an effort to
        maintain an appropriate mix of available and affordable funding. In the normal
        course of business, we perform a monthly hypothetical funding erosion stress test
        for both KeyCorp and KeyBank. In a “heightened monitoring mode,” we may
        conduct the hypothetical funding erosion stress tests more frequently, and use
        assumptions to reflect the changed market environment. Our testing incorporates
        estimates for loan and deposit lives based on our historical studies. Erosion stress
        tests analyze potential liquidity scenarios under various funding constraints and
        time periods. Ultimately, they determine the periodic effects that major direct and
        indirect events would have on our access to funding markets and our ability to fund
        our normal operations. To compensate for the effect of these assumed liquidity
        pressures, we consider alternative sources of liquidity and maturities over different
        time periods to project how funding needs would be managed.
        59.     In the 2019 10-K, Defendants Gorman, Cutler, Gile, Gillis, Highsmith, Hipple,

Snyder, and Wilson represented that the Company had a Contingency Funding Plan in place to

address a liquidity crisis:



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       We maintain a Contingency Funding Plan that outlines the process for addressing
       a liquidity crisis. The plan provides for an evaluation of funding sources under
       various market conditions. It also assigns specific roles and responsibilities for
       managing liquidity through a problem period. As part of the plan, we maintain on-
       balance sheet liquid reserves referred to as our liquid asset portfolio, which consists
       of high quality liquid assets. During a problem period, that reserve could be used
       as a source of funding to provide time to develop and execute a longer-term
       strategy.
       60.     Defendants Gorman, Cutler, Gile, Gillis, Highsmith, Hipple, Snyder, and Wilson

represented that the Company had a substantial liquid asset portfolio of $25.2 billion.

       The liquid asset portfolio at December 31, 2019, totaled $25.2 billion, consisting
       of $24.0 billion of unpledged securities, $140 million of securities available for
       secured funding at the FHLB, and $1.1 billion of net balances of federal funds sold
       and balances in our Federal Reserve account. The liquid asset portfolio can
       fluctuate due to excess liquidity, heightened risk, or prefunding of expected
       outflows, such as debt maturities.
       61.     In the 2019 10-K, Defendants Gorman, Cutler, Gile, Gillis, Highsmith, Hipple,

Snyder, and Wilson outlined KeyCorp’s long-term liquidity strategy:

       Our long-term liquidity strategy is to be predominantly funded by core deposits.
       However, we may use wholesale funds to sustain an adequate liquid asset portfolio,
       meet daily cash demands, and allow management flexibility to execute business
       initiatives. Key’s client-based relationship strategy provides for a strong core
       deposit base that, in conjunction with intermediate and long-term wholesale funds
       managed to a diversified maturity structure and investor base, supports our liquidity
       risk management strategy. We use the loan-to-deposit ratio as a metric to monitor
       these strategies. Our target loan-to-deposit ratio is 90-100% . . . which we calculate
       as the sum of total loans, loans held for sale, and nonsecuritized discontinued loans
       divided by deposits.
       62.     On May 4, 2020, the Company filed with the SEC its Quarterly Report on Form

10-Q for the period ended March 31, 2020 (the “1Q20 10-Q”). 4 In the 1Q20 10-Q, the Company

represented that it had a substantial liquid asset portfolio of $26 billion:


4
  Defendant Gorman certified pursuant to the Sarbanes Oxley Act of 2002 (“SOX”) that the 1Q20
10-Q fully complied with the requirements of Section 13(a) or 15(d) of the Exchange Act and that
the information contained in the 1Q20 10-Q fairly presented, in all material respects, the financial
condition and results of operations of the Company. All subsequent Quarterly Reports contained
SOX certifications from Defendant Gorman.


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       Our primary source of funding for KeyBank is retail and commercial deposits. As
       of March 31, 2020, our consolidated loan-to-deposit ratio was 92%. In addition, we
       also have access to various sources of wholesale funding, maintain a portfolio of
       liquid assets, and have borrowing capacity at the FHLB and Federal Reserve Bank
       of Cleveland. Our liquid asset portfolio at March 31, 2020, totaled $26.0 billion,
       consisting of $22.1 billion of unpledged securities, $119 million of securities
       available for secured funding at the FHLB, and $3.8 billion of net balances of
       federal funds sold and balances in our Federal Reserve account. Additionally, as of
       March 31, 2020, our unused borrowing capacity secured by loan collateral was
       $24.9 billion at the Federal Reserve Bank of Cleveland and $5.8 billion at the
       FHLB. During the first quarter of 2020, our secured term borrowings increased $4.5
       billion.
       63.     In the 1Q20 10-Q, the Company represented that it had conducted stress tests which

demonstrated the ability of KeyCorp to remain well capitalized even during of times of economic

and financial distress:

       Capital and liquidity were clear strengths for us during the first quarter of 2020. We
       have participated in several rounds of government-mandated stress tests since the
       2007-2009 financial crisis. These tests have shown that we would remain well
       capitalized through periods of severe economic and financial stress while
       continuing to support our clients and the communities in which we operate.
       64.     The Company represented that it conducted regular stress tests and sensitivity

analyses to assess risk:

       We also perform regular stress tests and sensitivity analyses on the model inputs
       that could materially change the resulting risk assessments. Assessments are
       performed using different shapes of the yield curve, including steepening or
       flattening of the yield curve, immediate changes in market interest rates, and
       changes in the relationship of money market interest rates. Assessments are also
       performed on changes to the following assumptions: loan and deposit balances, the
       pricing of deposits without contractual maturities, changes in lending spreads,
       prepayments on loans and securities, investment, funding and hedging activities,
       and liquidity and capital management strategies.
       65.     In the 1Q20 10-Q, the Company represented that it had a sufficient liquid asset

portfolio to manage through an adverse liquidity event:

       Over the past quarter, our liquid asset portfolio, which includes overnight and short-
       term investments, as well as unencumbered, high quality liquid securities held as
       protection against a range of potential liquidity stress scenarios, has increased as a
       result of an increase cash held at the Federal Reserve, which was partially offset by
       a decrease in unpledged securities. The liquid asset portfolio continues to exceed

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       the amount that we estimate would be necessary to manage through an adverse
       liquidity event by providing sufficient time to develop and execute a longer-term
       solution.
       66.     The Company further represented that it had a strong liquidity position: “Our

liquidity position at March 31, 2020, remained strong with a combined $50 billion in liquid assets

and unused borrowing capacity.”

       67.     The Company represented that the Board, the Risk Committee of the Board, and

other relevant committees engaged in vigorous risk oversight over matters affecting liquidity:

       The management of nontrading market risk is centralized within Corporate
       Treasury. The Risk Committee of our Board provides oversight of nontrading
       market risk. The ERM Committee and the ALCO review reports on the interest rate
       risk exposures described above. In addition, the ALCO reviews reports on stress
       tests and sensitivity analyses related to interest rate risk. The ERM Committee and
       the ALCO have various responsibilities related to managing nontrading market
       risk, including recommending, approving, and monitoring strategies that maintain
       risk positions within approved tolerance ranges. The A/LM policy provides the
       framework for the oversight and management of interest rate risk and is
       administered by the ALCO. The MRM, as the second line of defense, provides
       additional oversight.
                                               ***

       We manage credit risk exposure through a multifaceted program. The Credit Risk
       Committee approves management credit policies and recommends for approval
       significant credit policies to the appropriate Board committee or to the Board.
       These policies are communicated throughout the organization to foster a consistent
       approach to granting credit. There have been no significant changes in our Credit
       Risk Management practices as described under the heading “Credit risk
       management” beginning on page 74 of our 2019 Form 10-K.
       68.     On August 3, 2020, the Company filed with the SEC its Quarterly Report on Form

10-Q for the period ended June 30, 2020 (the “2Q20 10-Q”). The 2Q20 10-Q contained similar

representations as the 1Q20 10-Q regarding the sufficiency of the Company’s liquid asset portfolio

to manage adverse events, the Company’s strong liquidity position, the regular stress tests and

sensitivity analyses conducted by KeyCorp, and the oversight of the Risk Committee.




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       69.     On November 3, 2020, the Company filed with the SEC its Quarterly Report on

Form 10-Q for the period ended September 30, 2020 (the “3Q20 10-Q”). The 3Q20 10-Q contained

similar representations to the 1Q20 10-Q and 2Q20 10-Q regarding the sufficiency of the

Company’s liquid asset portfolio to manage adverse events, the Company’s strong liquidity

position, the regular stress tests and sensitivity analyses conducted by KeyCorp, and the oversight

of the Risk Committee.

       70.     On February 22, 2021, KeyCorp filed with the SEC its Annual Report on Form 10-

K (the “2020 10-K”) which was signed by Defendants Gorman, Cutler, Dallas, Gile, Gillis, Hayes,

Highsmith, Hipple, Ranken, Snyder, Vasos, and Wilson. 5 The 2020 10-K contained similar

representations to the 2019 10-K regarding the Company’s management of its liquidity risks, its

Contingency Funding Plan, and the monitoring of its liquidity position and funding sources. The

2020 10-K further represented that the Company had a substantial liquid asset portfolio of $36.6

billion: “The liquid asset portfolio at December 31, 2020, totaled $36.6 billion, consisting of $21.1

billion of unpledged securities, $66.9 million of securities available for secured funding at the

FHLB, and $15.4 billion of net balances of federal funds sold and balances in our Federal Reserve

account.”

       71.     On May 4, 2021, the Company filed with the SEC its Quarterly Report on Form

10-Q for the period ended March 31, 2021 (the “1Q21 10-Q”). The 1Q21 10-Q contained similar

representations to the previous Quarterly Reports regarding the sufficiency of the Company’s

liquid asset portfolio to manage adverse events, the Company’s strong liquidity position, the



5
   Defendant Gorman certified pursuant to SOX that the 2020 10-K fully complied with the
requirements of Section 13(a) or 15(d) of the Exchange Act and that the information contained in
the 2020 10-K fairly presented, in all material respects, the financial condition and results of
operations of the Company.

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regular stress tests and sensitivity analyses conducted by KeyCorp, and the vigorous risk oversight

over liquidity matters.

       72.     On August 2, 2021, the Company filed with the SEC its Quarterly Report on Form

10-Q for the period ended June 30, 2021 (the “2Q21 10-Q”). The 2Q21 10-Q contained similar

representations to the previous Quarterly Reports regarding the sufficiency of the Company’s

liquid asset portfolio to manage adverse events, the Company’s strong liquidity position, the

regular stress tests and sensitivity analyses conducted by KeyCorp, and the vigorous risk oversight

over liquidity matters.

       73.     On November 2, 2021, the Company filed with the SEC its Quarterly Report on

Form 10-Q for the period ended September 30, 2021 (the “3Q21 10-Q”). The 3Q21 10-Q contained

similar representations to the previous Quarterly Reports regarding the sufficiency of the

Company’s liquid asset portfolio to manage adverse events, the Company’s strong liquidity

position, the regular stress tests and sensitivity analyses conducted by KeyCorp, and the vigorous

risk oversight over liquidity matters.

       74.     On January 20, 2022, the Company filed with the SEC a Current Report on Form

8-K and attached a press release announcing the fourth quarter and fully year 2021 financial results,

including net income of $601 million, for the fourth quarter of 2021 compared to $616 million in

the previous quarter. The Company also reported taxable-equivalent NII of $1.0 billion for the

fourth quarter of 2021, a $5 million decrease from the same period the previous year and the net

interest margin decreased by 26 basis points. The Company reported that the decreases “reflected

the impact of lower reinvestment yields and the exit of the indirect auto loan portfolio, largely

offset by a favorable earning asset mix.” The Company also noted: “The net interest margin was

also impacted by elevated levels of liquidity as we continued to experience higher levels of deposit



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inflows in 2021.” In the consumer bank segment, “[t]axable-equivalent net interest income

decreased by $69 million, compared to the fourth quarter of 2020, related to the sale of the indirect

auto portfolio, partially offset by strong consumer mortgage balance sheet growth and fees related

to PPP loans.”

        75.      Defendant Gorman stated that the Company’s “collective focus on sound,

profitable growth” was “evidenced by our strong credit quality.” CEO Gorman touted KeyCorp’s

commitment to “our capital priorities and maximizing shareholder value.”

        76.      On the same day, in a conference call with financial analysts and investors to

discuss the fourth quarter 2021 and full year financial results, CEO Gorman represented that the

Company was focused on maintaining risk discipline:

        Foundational to our model is a relentless focus on maintaining our risk discipline.
        Credit quality remains strong throughout the year, as net charge-offs as a percentage
        of average loans remained at historically low levels….We will continue to support
        our clients while maintaining our moderate risk profile, which has and will continue
        to position the company to perform well through all business cycles.
        77.      CFO Kimble represented that the Company benefited from investing its excess

liquidity position: “Couple of areas of interest in the past have been the impact of the repricing of

our interest rate swap portfolio and the potential benefit from investing our excess liquidity

position…. Also, if we reinvested the $20 billion of liquidity, our benefit to net interest income

would be about $350 million a year.” CFO Kimble further represented that the Company would

be in a “strong position” even after investing the excess liquidity: “And so that will use up some

of that excess liquidity in 2022, [but we will] still be in a strong position after that.”

        78.      Defendant Gorman emphasized that the Company was committed to providing

liquidity for its customers: “So some of the extreme volatility that one might expect to see from

trading, one, we don't have it as part of our business. We trade just to provide liquidity for our

customers.”

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       79.      On February 22, 2022, the Company filed with the SEC its 2021 10-K, which was

signed by all the Individual Defendants. The 2021 10-K contained similar representations to the

2019 10-K and 2020 10-K regarding the Company’s management of its liquidity risks, its

Contingency Funding Plan, and the monitoring of its liquidity position and funding sources. The

2021 10-K stated that the Company’s liquid asset portfolio was $46.2 billion: “The liquid asset

portfolio at December 31, 2021, totaled $46.2 billion, consisting of $35.9 billion of unpledged

securities, $21 million of securities available for secured funding at the FHLB, and $10.2 billion

of net balances of federal funds sold and balances in our Federal Reserve account.”

       80.     On May 4, 2022, the Company filed with the SEC its Quarterly Report on Form 10-

Q for the period ended March 31, 2022 (the “1Q22 10-Q”). The 1Q22 10-Q contained similar

representations to the previous Quarterly Reports regarding the sufficiency of the Company’s

liquid asset portfolio to manage adverse events, the Company’s strong liquidity position, the

regular stress tests and sensitivity analyses conducted by KeyCorp, and the vigorous risk oversight

over liquidity matters.

       81.     On August 2, 2022, the Company filed with the SEC its Quarterly Report on Form

10-Q for the period ended June 30, 2022 (the “2Q22 10-Q”). The 2Q22 10-Q contained similar

representations to the previous Quarterly Reports regarding the sufficiency of the Company’s

liquid asset portfolio to manage adverse events, the Company’s strong liquidity position, the

regular stress tests and sensitivity analyses conducted by KeyCorp, and the vigorous risk oversight

over liquidity matters.

       82.     On November 1, 2022, the Company filed with the SEC its Quarterly Report on

Form 10-Q for the period ended September 30, 2022 (the “3Q22 10-Q”). The 3Q22 10-Q contained

similar representations to the previous Quarterly Reports regarding the sufficiency of the



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Company’s liquid asset portfolio to manage adverse events, the Company’s strong liquidity

position, the regular stress tests and sensitivity analyses conducted by KeyCorp, and the vigorous

risk oversight over liquidity matters.

       83.     On January 19, 2023, KeyCorp presented the Company’s fourth quarter and full

year fiscal 2022 financial results in an earnings webcast (the “2022 financial presentation”). In the

2022 financial presentation, the Company forecast that the NII for full year 2023 would be up

“6%-9%” from the previous year. The Company represented that the Company had “Future [NII]

Drivers” including “Organic Growth” stemming from the Company’s focus “on relationship

banking” which was “expected to drive continued loan growth and relatively stable deposits.” The

Company further represented that the Company’s asset and liability management was positioned

to grow NII “over the next two years, as swaps and short-term Treasuries mature” and the

Company’s investment portfolio was positioned to “provide liquidity and enhance returns while

benefiting from higher reinvestment rates.”

       84.     The Company also noted that negative impacts on NII such as marginal funding

costs were only transitory as they were merely “increasing with rising interests rates,” and

emphasized that “[d]eposit costs are expected to increase as we remain competitive with the

industry.”

       85.     On January 19, 2023, the Company filed with the SEC a Current Report on Form

8-K and attached a press release announcing the fourth quarter and full year 2022 financial results,

including net income of only $356 million for the fourth quarter of 2022 compared to $513 million

for the previous quarter and $601 million in the fourth quarter of 2021. The Company also reported

NII of $1.2 billion for the fourth quarter of 2022, an increase of $189 million from the fourth

quarter of 2021. The net interest margin increased by 29 basis points. The Company reported:



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“Net interest income and net interest margin benefited from higher earning asset balances and

higher interest rates” but NII and the net interest margin “were negatively impacted by higher

interest-bearing deposit costs and lower loan fees from the Paycheck Protection Program.”

Defendant Gorman stated: “Looking forward, we will continue to unlock the value of our

differentiated business model by delivering revenue growth while maintaining our expense

discipline.” CEO Gorman focused on KeyCorp’s “credit quality” which remained “strong with

net-charge offs to average loans near historically low levels.” Gorman represented: “Our results

include a significant build in our allowance for credit losses, primarily reflecting a change in our

economic outlook.”

          86.    On the same day, on a conference call with financial analysts and investors to

discuss the Company’s financial results for the fourth quarter and full year 2021, CFO Kimble

repeated the Company’s expectation of a 6%-9% rise in NII and backed up the guidance with more

detail:

          [NII] is expected to be up between 6% and 9% reflecting growth in average loan
          balances and higher interest rates. Our guidance is based on the forward curve,
          assuming a Fed funds rate peaking at 5% in the first quarter and starting to decline
          in the fourth quarter. These interest rate assumptions, along with our expectations
          for customer behavior and the competitive pricing environment are very fluid and
          will continue to impact our outlook prospectively.

          87.    Defendant Gorman represented that the Company was maintaining a moderate risk

profile: “Nonperforming loans declined again this quarter and delinquencies, criticized and

classified loans all remained near historically low levels. We will continue to support our clients

while maintaining our moderate risk profile, which positions the company to perform well

through all business cycles.”




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       88.     On February 22, 2023, the Company filed with the SEC its Annual Report on Form

10-K for the period ended December 31, 2022 which was signed by all the Individual Defendants. 6

The 2022 10-K contained similar statements as the 2019 10-K, 2020 10-K, and 2021 10-K

concerning the Company’s management of its liquidity risks, its Contingency Funding Plan, and

the monitoring of its liquidity position and funding sources. The Individual Defendants stated in

the 2022 10-K that the Company’s liquid asset portfolio was $35.5 billion: “The liquid asset

portfolio at December 31, 2022, totaled $35.5 billion, consisting of $33.2 billion of unpledged

securities, $10 million of securities available for secured funding at the FHLB, and $2.4 billion of

net balances of federal funds sold and balances in our Federal Reserve account.”

       D.      The Company Revises Its NII Guidance And Discloses The True
               State Of Its Liquidity Position

       89.     On March 6, 2023, the Company filed with the SEC a Current Report on Form 8-

K and attached an exhibit with a presentation from the RBC Conference. In the presentation,

KeyCorp provided updated NII guidance with only a 1%-4% increase in 2023 versus the previous

guidance of a 6%-9% increase less than two months earlier. KeyCorp blamed this reduction in its

2023 guidance on “Deposit Beta and Funding Costs” because the “[m]arginal funding costs [were]

increasing with rising market interest rates” and impacted NII. However, the Company reassured

that there were numerous positive drivers on NII including “Organic Growth” from the Company’s

focus on “relationship banking” which was “driving loans and deposits.” The Company also

represented that its investment portfolio was still positioned “to provide liquidity and enhance

returns while benefiting from higher reinvestment rates.” KeyCorp emphasized its “Balance Sheet


6
  Defendant Gorman certified pursuant to the Sarbanes Oxley Act of 2002 (“SOX”) that the 2022
10-K fully complied with the requirements of Section 13(a) or 15(d) of the Exchange Act and that
the information contained in the 2022 10-K fairly presented, in all material respects, the financial
condition and results of operations of the Company.


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Positioning” which gave the Company the opportunity “to accelerate realization of value of short-

term Treasuries” through the execution of “hedges to manage downside risk[.]”

         90.    On March 13, 2023, following the collapse of several financial institutions

including Silvergate Bank, Signature Bank, and Silicon Valley Bank, financial analysts

downgraded KeyCorp’s stock. For example, Odeon Capital downgraded KeyCorp stock from Buy

to Hold 7 and the S&P Global downgraded its bond ratings for Key Bank. 8

         91.    On April 20, 2023, KeyCorp filed with the SEC a Current Report on Form 8-K

attaching a press release reporting the first quarter 2023 financial results. In the press release, the

Company continued to represent that the Company was positioned for stability from a “[d]urable

relationship-based business model” and “[s]trong liquidity and funding, supported by diverse, core

deposits[.]” In the press release, the Company discussed its disappointing NII results for the

quarter, including a $121 million decrease in taxable-equivalent NII:

         Taxable-equivalent [NII] was $1.1 billion for the first quarter of 2023 and the net
         interest margin was 2.47%.
                                                ***

         Compared to the fourth quarter of 2022, taxable-equivalent [NII] decreased by $121
         million, while the net interest margin decreased by 26 basis points. [NII] and the
         net interest margin reflect higher interest-bearing deposit costs and a change in
         funding mix, partly offset by higher earning asset balances and a benefit from
         higher interest rates. Additionally, [NII] was lower reflecting two fewer days in the
         first quarter of 2023.

         92.    On the same day, the Company held a conference call with financial analysts and

investors to discuss the first quarter financial results. On the call, CFO Clark Khayat (“Khayat”),




7
    https://www.nasdaq.com/articles/odeon-capital-downgrades-keycorp-key.
8
  https://finance.yahoo.com/news/sp-downgrades-show-some-regional-banks-still-face-rising-
pressures-125611499.html.
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who replaced CFO Kimble on March 16, 2023, represented that the Company’s NII in the second

quarter of 2023 would only decrease by 4%-5%:

          As it relates to [NII], second quarter, we’d expect that to be down kind of 4% to
          5% in Q2 with NIM, NIM coming down in part because we’re carrying a little bit
          excess liquidity post the early March period, and we would see that come down we
          think maybe another 6 to 8 basis points. And then as I responded to and Scott’s
          question, kind of stabilize and start to come back up in the second half of the year.

          93.    CFO Khayat also discussed the negative impact to the net interest margin from a

change in liquidity and other factors: “Relative to Q4, our net interest margin was negatively

impacted by 22 basis points related to higher interest-bearing deposit costs and 22 basis points

from a change in funding mix and liquidity and loan fees, partly offset by 18 basis points related

to higher interest rates and earning asset growth.” Khayat reassured that the Company’s “liquidity

position is strong, our period-end cash balances at the Federal Reserve stood at $8 billion, and we

maintain flexibility with significant levels of unused borrowing capacity from additional sources.”

          94.    However, on June 12, 2023, at the Morgan Stanley US Financials, Payments, &

CRE Conference, CFO Khayat disclosed that the Company anticipated that the third quarter of

2023 NII would be weaker than expected, “based on funding mix and deposit cost pressures.”

Khayat warned that the NII would probably drop 12% in the second quarter compared to his earlier

projection of 4%-5% less than two months earlier. Further, Defendant Gorman disclosed that Key

Bank clients were demanding higher interest rates on their deposits, and Key Bank would likely

face higher capital and liquidity requirements by regulators, adding: “We’re paying very close

attention to our RWAs [risk-weighted assets] because we don’t know how this is going to play

out[.]”

          95.    On the news of the further revised negative guidance, KeyCorp’s stock price fell

$0.46 per share, or 4.31% to close at $10.22 per share on June 12, 2023. Overall, the Company’s



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stock fell more than 45% since the original downgrade of KeyCorp’s securities by analysts on

March 13, 2023.

       E.      KeyCorp Is Sued In A Securities Class Action Lawsuit

       96.     On August 4, 2023, a securities class action lawsuit was filed in the District Court

for the Northern District of Ohio captioned Gurevitch v. KeyCorp et al., No. 1:23-cv-01520-DCN

(N.D. Ohio), against the Company, CEO Gorman, CFO Khayat, former CFO Kimble, and former

CEO Mooney alleging violations Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), Rule 10b-

5 promulgated thereunder by the SEC, and Section 20(a) of the Exchange Act. The lawsuit seeks

damages on behalf of a class consisting of all persons and entities that purchased or otherwise

acquired KeyCorp securities between February 27, 2020, and June 9, 2023, inclusive. The lawsuit

alleges that the defendants made false and/or misleading statements and/or failed to disclose that:

(i) KeyCorp downplayed concerns with its liquidity while overstating the effectiveness of its long-

term liquidity strategy; (ii) KeyCorp overstated its projected NII for the second quarter and full

year of 2023, as well as related positive NII drivers, while downplaying negative NII drivers; (iii)

as a result, KeyCorp was likely to negatively revise its previously issued NII guidance; (iv) all the

foregoing, once revealed, was likely to negatively impact KeyCorp’s business, financial results,

and reputation; and (v) as a result, the defendants’ public statements were materially false and/or

misleading at all relevant times.

       F.      KeyCorp’s False And Misleading Proxy Statement

       97.     On March 24, 2023, the Company filed its 2023 Proxy Statement with the SEC

soliciting shareholder votes to, among other things, re-elect the Individual Defendants to the

Board, approve executive compensation, and approve the KeyCorp Amended and Restated 2019




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Equity Compensation Plan. The Proxy Statement was authorized by the Board and signed by

Defendant Gorman.

       98.     The 2023 Proxy Statement represents that the Company is committed to high

standards of corporate governance:

       We believe the best way to deliver long-term value is by delivering on our
       commitments to every stakeholder we serve – our shareholders, clients, colleagues,
       regulators, and communities. At Key, environmental, social, and governance
       (“ESG”) is central to who we are and how we do business – we are here to help our
       clients and communities thrive – and through these efforts, we create outstanding
       results for our shareholders.
                                                       ***

       We are committed to meeting high standards of ethical behavior, corporate
       governance, and business conduct.
       99.     The 2023 Proxy Statement represents that the Board oversees and monitors the

Company’s risk exposures:

       Our Board structure enables the Board to exercise vigorous oversight of key issues
       relating to management development, succession and compensation, compliance
       and integrity, corporate governance and ESG, cybersecurity, and company strategy
       and risk. With respect to risk, the Board oversees that KeyCorp’s risks are managed
       in a manner that is effective and balanced and adds value for KeyCorp’s
       shareholders. The Board understands KeyCorp’s risk philosophy, approves
       KeyCorp’s risk appetite, inquires about risk practices, reviews the portfolio of risks,
       compares actual risks to the risk appetite, and is apprised of significant risks, both
       current and emerging, and determines whether management is responding
       appropriately. With respect to risk and other areas that it oversees, the Board
       challenges management and promotes accountability.
       100.    The 2023 Proxy Statement represents that the Audit Committee is engaged in

vigorous oversight over risks to the Company, the adequacy of the Company’s internal controls,

and compliance with all legal requirements: “The Audit Committee has primary oversight

responsibility for internal audit, financial reporting, legal matters, and fraud risk.”

       101.    The 2023 Proxy Statement represents that the Risk Committee assists the Board

“with strategies, policies, procedures, and practices relating to the assessment and management of


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KeyCorp’s enterprise-wide risks, including credit risk, market risk, liquidity risk, compliance risk,

operational risk…and other risks….”

       102.    The foregoing statements in the 2023 Proxy Statement were false and misleading

and omitted material information. Contrary to the representations made in the Proxy, the Board

was required, but failed to: (1) implement and maintain an effective system of internal controls to

ensure that the Company was complying with all laws, rules, and regulations governing KeyCorp’s

core operations and making truthful, accurate, and complete statements regarding its core

operations, financial condition, and business prospects; (2) effectively oversee and monitor the

material risks facing the Company; and (3) investigate and take action when presented with red

flags regarding misconduct or the lack of internal controls.

       103.    On May 12, 2023, KeyCorp filed with the SEC a Current Report on Form 8-K

announcing, among other things, the re-election of the Individual Defendants to the Board and the

approval of the executive compensation and the KeyCorp Amended and Restated 2019 Equity

Compensation Plan pursuant to the solicitations in the 2023 Proxy Statement.

VI.       DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       104.    Plaintiff brings this action derivatively and for the benefit of KeyCorp to redress

injuries suffered, and to be suffered, as a result of the Individual Defendants’ breaches of their

fiduciary duties as directors and officers of KeyCorp and violations of Section 14(a) of the

Exchange Act, and to seek contribution for violations of Section 21D of the Exchange Act, as well

as the aiding and abetting thereof.

       105.    KeyCorp is named solely as a nominal party in this action. This is not a collusive

action to confer jurisdiction on this Court that it would not otherwise have.




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        106.   Plaintiff is, and has been at all relevant times, a stockholder of KeyCorp and was a

stockholder of the Company at the time of the misconduct alleged herein. Plaintiff will adequately

and fairly represent the interests of KeyCorp in enforcing and prosecuting its rights, and, to that

end, has retained competent counsel, experienced in derivative litigation, to prosecute this action.

        107.   Demand upon the Board to institute this action against the Individual Defendants

would be futile and is, therefore, excused. The Board is neither disinterested nor independent.

        A.     Demand Upon Defendant Gorman Is Excused

        108.   Gorman has served as Chairman of the Board and CEO of KeyCorp since May

2020 and has been employed by the Company for twenty-five years. Gorman therefore is not

independent. Indeed, KeyCorp’s 2023 Proxy Statement does not list Gorman as an independent

director.

        109.   As an employee of KeyCorp, the Company provides Defendant Gorman with his

principal occupation from which he receives substantial compensation, including $10,463,627 in

2022. Thus, Gorman could not consider a demand for action that might require him to sue the

directors who control his continued employment or fellow members of management with whom

he works on a day-to-day basis.

        110.   Gorman is named as a defendant in the pending Securities Class Action. As such,

he is incapable of considering a demand to commence and vigorously prosecute this action with

the required independence and disinterest.

        111.   Defendants Gorman and Rankin have a business relationship which precludes them

from acting in an independent and disinterested manner. Gorman is the CEO of Key Venture

Partners LLC (“Key Venture”), a venture capital firm that invests in software, communications,




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information services, and information technology sectors. Defendant Rankin is the CFO of Key

Venture.

       112.    Defendants Gorman and Cutler have a business relationship which precludes them

from acting in an independent and disinterested manner. Both have served in leadership positions

on the Ohio Business Roundtable, with Gorman serving as the current Vice Chair.

       113.    Gorman signed the 2023 Proxy Statement containing false and misleading

statements and material omissions and faces a substantial likelihood of liability therefor.

       114.    Gorman benefitted from the violation of Section 14(a) of the Exchange Act pled

herein by securing re-election to the KeyCorp Board through the false and misleading statements

and material omissions in the 2023 Proxy Statement.

       115.    Gorman, as a director of KeyCorp, was required to, but failed to: (1) implement and

maintain an effective system of internal controls to ensure that the Company was complying with

all laws, rules, and regulations governing KeyCorp’s core operations and making truthful,

accurate, and complete statements regarding its core operations, financial condition, and business

prospects; (2) effectively oversee and monitor the material risks facing the Company; and (3)

investigate and take action when presented with red flags regarding misconduct or the lack of

internal controls.

       116.    Gorman is neither independent nor disinterested. Any demand upon Defendant

Gorman is futile and, thus, excused.

       B.      Demand Upon Defendant Cutler Is Excused

       117.     Defendants Cutler and Gorman have a business relationship which precludes them

from acting in an independent and disinterested manner. Both have served in leadership positions

on the Ohio Business Roundtable, with Gorman serving as the current Vice Chair.



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       118.    Cutler authorized the 2023 Proxy Statement containing false and misleading

statements and material omissions and faces a substantial likelihood of liability therefor.

       119.    Cutler benefited from the violation of Section 14(a) of the Exchange Act pled herein

by securing re-election to the KeyCorp Board through the false and misleading statements and

material omissions in the 2023 Proxy Statement.

       120.    Cutler, as a member of the Nominating and Corporate Governance Committee, had

the duty, among others, to ensure the implementation and effectiveness of KeyCorp’s Corporate

Governance Principles. Cutler utterly failed to perform these duties.

       121.    Cutler, as a director of KeyCorp, was required to, but failed to: (1) implement and

maintain an effective system of internal controls to ensure that the Company was complying with

all laws, rules, and regulations governing KeyCorp’s core operations and making truthful,

accurate, and complete statements regarding its core operations, financial condition, and business

prospects; (2) effectively oversee and monitor the material risks facing the Company; and (3)

investigate and take action when presented with red flags regarding misconduct or the lack of

internal controls.

       122.    Cutler is neither independent nor disinterested. Any demand upon Defendant

Cutler is futile and, thus, excused.

       C.      Demand Upon Defendant Dallas Is Excused

       123.    Dallas authorized the 2023 Proxy Statement containing false and misleading

statements and material omissions and faces a substantial likelihood of liability therefor.

       124.    Dallas benefitted from the violation of Section 14(a) of the Exchange Act pled

herein by securing re-election to the KeyCorp Board through the false and misleading statements

and material omissions in the 2023 Proxy Statement.



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       125.    Dallas, as a member of the Audit Committee, had duties regarding oversight of the

risks facing the Company and KeyCorp’s compliance with relevant laws, rules, and regulations.

Dallas utterly failed to perform these essential duties.

       126.    Dallas, as Chair of the Nominating and Corporate Governance Committee, had the

duty, among others, to ensure the implementation and effectiveness of KeyCorp’s Corporate

Governance Principles. Dallas utterly failed to perform these duties.

       127.    Dallas, as a director of KeyCorp, was required to, but failed to: (1) implement and

maintain an effective system of internal controls to ensure that the Company was complying with

all laws, rules, and regulations governing KeyCorp’s core operations and making truthful,

accurate, and complete statements regarding its core operations, financial condition, and business

prospects; (2) effectively oversee and monitor the material risks facing the Company; and (3)

investigate and take action when presented with red flags regarding misconduct or the lack of

internal controls.

       128.    Dallas is neither independent nor disinterested. Any demand upon Defendant

Dallas futile and, thus, excused.

       D.      Demand Upon Defendant Gile Is Excused

       129.    Gile authorized the 2023 Proxy Statement containing false and misleading

statements and material omissions and faces a substantial likelihood of liability therefor.

       130.    Gile benefitted from the violation of Section 14(a) of the Exchange Act pled herein

by securing re-election to the KeyCorp Board through the false and misleading statements and

material omissions in the 2023 Proxy Statement.

       131.    Gile, as Chair of the Risk Committee, had duties regarding oversight of the

Company’s overall risk framework, and was responsible for identifying, measuring, monitoring,



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and controlling the key risks facing the Company. Gile utterly failed to perform these essential

duties.

          132.   Gile, as a member of the Nominating and Corporate Governance Committee, had

the duty, among others, to ensure the implementation and effectiveness of KeyCorp’s Corporate

Governance Principles. Gile utterly failed to perform these duties.

          133.   Gile, as a director of KeyCorp, was required to, but failed to: (1) implement and

maintain an effective system of internal controls to ensure that the Company was complying with

all laws, rules, and regulations governing KeyCorp’s core operations and making truthful,

accurate, and complete statements regarding its core operations, financial condition, and business

prospects; (2) effectively oversee and monitor the material risks facing the Company; and (3)

investigate and take action when presented with red flags regarding misconduct or the lack of

internal controls.

          134.   Gile is neither independent nor disinterested. Any demand upon Defendant Gile is

futile and, thus, excused.

          E.     Demand Upon Defendant Gillis Is Excused

          135.   Gillis authorized the 2023 Proxy Statement containing false and misleading

statements and material omissions and faces a substantial likelihood of liability therefor.

          136.   Gillis benefited from the violation of Section 14(a) of the Exchange Act pled herein

by securing re-election to the KeyCorp Board through the false and misleading statements and

material omissions in the 2023 Proxy Statement.

          137.   Gillis, as a member of the Audit Committee, had duties regarding oversight of the

risks facing the Company and KeyCorp’s compliance with relevant laws, rules, and regulations.

Gillis utterly failed to perform these essential duties.



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          138.   Gillis, as a director of KeyCorp, was required to, but failed to: (1) implement and

maintain an effective system of internal controls to ensure that the Company was complying with

all laws, rules, and regulations governing KeyCorp’s core operations and making truthful,

accurate, and complete statements regarding its core operations, financial condition, and business

prospects; (2) effectively oversee and monitor the material risks facing the Company; and (3)

investigate and take action when presented with red flags regarding misconduct or the lack of

internal controls.

          139.   Gillis is neither independent nor disinterested. Any demand upon Defendant Gillis

is futile and, thus, excused.

          F.     Demand Upon Defendant Hayes Is Excused

          140.   Hayes authorized the 2023 Proxy Statement containing false and misleading

statements and material omissions and faces a substantial likelihood of liability therefor.

          141.   Hayes benefited from the violation of Section 14(a) of the Exchange Act pled herein

by securing re-election to the KeyCorp Board through the false and misleading statements and

material omissions in the 2023 Proxy Statement.

          142.   Hayes, as a member of the Risk Committee, had duties regarding oversight of the

Company’s overall risk framework, and was responsible for identifying, measuring, monitoring,

and controlling the key risks facing the Company. Hayes utterly failed to perform these essential

duties.

          143.   Hayes, as a director of KeyCorp, was required to, but failed to: (1) implement and

maintain an effective system of internal controls to ensure that the Company was complying with

all laws, rules, and regulations governing KeyCorp’s core operations and making truthful,

accurate, and complete statements regarding its core operations, financial condition, and business



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prospects; (2) effectively oversee and monitor the material risks facing the Company; and (3)

investigate and take action when presented with red flags regarding misconduct or the lack of

internal controls.

       144.    Hayes is neither independent nor disinterested. Any demand upon Defendant

Hayes is futile and, thus, excused.

       G.      Demand Upon Defendant Highsmith Is Excused

       145.    Highsmith authorized the 2023 Proxy Statement containing false and misleading

statements and material omissions and faces a substantial likelihood of liability therefor.

       146.    Highsmith benefitted from the violation of Section 14(a) of the Exchange Act pled

herein by securing re-election to the KeyCorp Board through the false and misleading statements

and material omissions in the 2023 Proxy Statement.

       147.    Highsmith, as a member of the Risk Committee, had duties regarding oversight of

the Company’s overall risk framework, and was responsible for identifying, measuring,

monitoring, and controlling the key risks facing the Company. Highsmith utterly failed to perform

these essential duties.

       148.    Highsmith, as a member of the Nominating and Corporate Governance Committee,

had the duty, among others, to ensure the implementation and effectiveness of KeyCorp’s

Corporate Governance Principles. Highsmith utterly failed to perform these duties.

       149.    Highsmith, as a director of KeyCorp, was required to, but failed to: (1) implement

and maintain an effective system of internal controls to ensure that the Company was complying

with all laws, rules, and regulations governing KeyCorp’s core operations and making truthful,

accurate, and complete statements regarding its core operations, financial condition, and business

prospects; (2) effectively oversee and monitor the material risks facing the Company; and (3)



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investigate and take action when presented with red flags regarding misconduct or the lack of

internal controls.

       150.    Highsmith is neither independent nor disinterested. Any demand upon Defendant

Highsmith is futile and, thus, excused.

       H.      Demand Upon Defendant Hipple Is Excused

       151.    Hipple authorized the 2023 Proxy Statement containing false and misleading

statements and material omissions and faces a substantial likelihood of liability therefor.

       152.    Hipple benefited from the violation of Section 14(a) of the Exchange Act pled

herein by securing re-election to the KeyCorp Board through the false and misleading statements

and material omissions in the 2023 Proxy Statement.

       153.    Hipple, as Chair of the Audit Committee, had duties regarding oversight of the risks

facing the Company and KeyCorp’s compliance with relevant laws, rules, and regulations. Hipple

utterly failed to perform these essential duties.

       154.    Hipple, as a member of the Nominating and Corporate Governance Committee, had

the duty, among others, to ensure the implementation and effectiveness of KeyCorp’s Corporate

Governance Principles. Hipple utterly failed to perform these duties.

       155.    Hipple, as a director of KeyCorp, was required to, but failed to: (1) implement and

maintain an effective system of internal controls to ensure that the Company was complying with

all laws, rules, and regulations governing KeyCorp’s core operations and making truthful,

accurate, and complete statements regarding its core operations, financial condition, and business

prospects; (2) effectively oversee and monitor the material risks facing the Company; and (3)

investigate and take action when presented with red flags regarding misconduct or the lack of

internal controls.



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       156.    Hipple is neither independent nor disinterested. Any demand upon Defendant

Hipple is futile and, thus, excused.

       I.      Demand Upon Defendant Rankin Is Excused

       157.    Defendants Rankin and Gorman have a business relationship which precludes them

from acting in an independent and disinterested manner. Defendant Rankin is the CFO of Key

Venture, a venture capital firm. Gorman is the CEO of Key Venture.

       158.    Rankin authorized the 2023 Proxy Statement containing false and misleading

statements and material omissions and faces a substantial likelihood of liability therefor.

       159.    Rankin benefitted from the violation of Section 14(a) of the Exchange Act pled

herein by securing re-election to the KeyCorp Board through the false and misleading statements

and material omissions in the 2023 Proxy Statement.

       160.    Rankin, as a member of the Audit Committee, had duties regarding oversight of the

risks facing the Company and KeyCorp’s compliance with relevant laws, rules, and regulations.

Rankin utterly failed to perform these essential duties.

       161.    Rankin, as a director of KeyCorp, was required to, but failed to: (1) implement and

maintain an effective system of internal controls to ensure that the Company was complying with

all laws, rules, and regulations governing KeyCorp’s core operations and making truthful,

accurate, and complete statements regarding its core operations, financial condition, and business

prospects; (2) effectively oversee and monitor the material risks facing the Company; and (3)

investigate and take action when presented with red flags regarding misconduct or the lack of

internal controls.

       162.    Rankin is neither independent nor disinterested. Any demand upon Defendant

Rankin is futile and, thus, excused.



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       J.      Demand Upon Defendant Snyder Is Excused

       163.    Snyder authorized the 2023 Proxy Statement containing false and misleading

statements and material omissions and faces a substantial likelihood of liability therefor.

       164.    Snyder benefited from the violation of Section 14(a) of the Exchange Act pled

herein by securing re-election to the KeyCorp Board through the false and misleading statements

and material omissions in the 2023 Proxy Statement.

       165.    Snyder, as a member of the Nominating and Corporate Governance Committee,

had the duty, among others, to ensure the implementation and effectiveness of KeyCorp’s

Corporate Governance Principles. Snyder utterly failed to perform these duties.

       166.    Snyder, as a director of KeyCorp, was required to, but failed to: (1) implement and

maintain an effective system of internal controls to ensure that the Company was complying with

all laws, rules, and regulations governing KeyCorp’s core operations and making truthful,

accurate, and complete statements regarding its core operations, financial condition, and business

prospects; (2) effectively oversee and monitor the material risks facing the Company; and (3)

investigate and take action when presented with red flags regarding misconduct or the lack of

internal controls.

       167.    Snyder is neither independent nor disinterested. Any demand upon Defendant

Snyder is futile and, thus, excused.

       K.      Demand Upon Defendant Tobin Is Excused

       168.    Tobin authorized the 2023 Proxy Statement containing false and misleading

statements and material omissions and faces a substantial likelihood of liability therefor.




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        169.    Tobin benefitted from the violation of Section 14(a) of the Exchange Act pled

herein by securing re-election to the KeyCorp Board through the false and misleading statements

and material omissions in the 2023 Proxy Statement.

        170.    Tobin, as a director of KeyCorp, was required to, but failed to: (1) implement and

maintain an effective system of internal controls to ensure that the Company was complying with

all laws, rules, and regulations governing KeyCorp’s core operations and making truthful,

accurate, and complete statements regarding its core operations, financial condition, and business

prospects; (2) effectively oversee and monitor the material risks facing the Company; and (3)

investigate and take action when presented with red flags regarding misconduct or the lack of

internal controls.

        171.    Tobin is neither independent nor disinterested. Any demand upon Defendant Tobin

is futile and, thus, excused.

        L.      Demand Upon Defendant Vasos Is Excused

        172.    Vasos authorized the 2023 Proxy Statement containing false and misleading

statements and material omissions and faces a substantial likelihood of liability therefor.

        173.    Vasos benefited from the violation of Section 14(a) of the Exchange Act pled herein

by securing re-election to the KeyCorp Board through the false and misleading statements and

material omissions in the 2023 Proxy Statement.

        174.    Vasos, as a director of KeyCorp, was required to, but failed to: (1) implement and

maintain an effective system of internal controls to ensure that the Company was complying with

all laws, rules, and regulations governing KeyCorp’s core operations and making truthful,

accurate, and complete statements regarding its core operations, financial condition, and business

prospects; (2) effectively oversee and monitor the material risks facing the Company; and (3)



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investigate and take action when presented with red flags regarding misconduct or the lack of

internal controls.

          175.   Vasos is neither independent nor disinterested. Any demand upon Defendant Vasos

is futile and, thus, excused.

          M.     Demand Upon Defendant Wilson Is Excused

          176.   Wilson authorized the 2023 Proxy Statement containing false and misleading

statements and material omissions and faces a substantial likelihood of liability therefor.

          177.   Wilson benefited from the violation of Section 14(a) of the Exchange Act pled

herein by securing re-election to the KeyCorp Board through the false and misleading statements

and material omissions in the 2023 Proxy Statement.

          178.   Wilson, as a member of the Risk Committee, had duties regarding oversight of the

Company’s overall risk framework, and was responsible for identifying, measuring, monitoring,

and controlling the key risks facing the Company. Wilson utterly failed to perform these essential

duties.

          179.   Wilson, as a director of KeyCorp, was required to, but failed to: (1) implement and

maintain an effective system of internal controls to ensure that the Company was complying with

all laws, rules, and regulations governing KeyCorp’s core operations and making truthful,

accurate, and complete statements regarding its core operations, financial condition, and business

prospects; (2) effectively oversee and monitor the material risks facing the Company; and (3)

investigate and take action when presented with red flags regarding misconduct or the lack of

internal controls.

          180.   Wilson is neither independent nor disinterested. Any demand upon Defendant

Wilson is futile and, thus, excused.



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        N.      Other Factors Demonstrating That Demand Upon The
                KeyCorp Board Is Excused

        181.    KeyCorp has been and will continue to be exposed to significant losses due to the

wrongdoing complained of herein, yet the Board has not caused the Company to take action to

recover for the Company the damages it has suffered and will continue to suffer thereby.

        182.    The members of the KeyCorp Board received, and continue to receive, substantial

salaries, bonuses, payments, benefits, and other emoluments by virtue of their membership on the

Board. They have thus benefited from the wrongs herein alleged and have engaged therein to

preserve their positions of control and the perquisites thereof and are incapable of exercising

independent objective judgment in deciding whether to bring this action.

        183.    Publicly traded companies, such as KeyCorp, typically carry director & officer

liability insurance from which the Company could potentially recover some or all its losses.

However, such insurance typically contains an “insured vs. insured” disclaimer that will foreclose

a recovery from the insurers if the Individual Defendants sue each other to recover KeyCorp’s

damages.

VII.         CLAIMS FOR RELIEF

                                          COUNT ONE
                              Against the Individual Defendants for
                         Violations of Section 14(A) of the Exchange Act

        184.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above as if fully set forth herein.

        185.    The Section 14(a) claim alleged herein is based solely on negligence. It is not based

on any allegation of reckless or knowing conduct by or on behalf of the Individual Defendants.

Section 14(a) claim alleged herein does not allege and does not sound in fraud. Plaintiff




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specifically disclaims any allegations of reliance upon any allegation of, or reference to, any

allegation of fraud, scienter, or recklessness with regard to those non-fraud claims.

       186.    Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t shall

be unlawful for any person, by use of the mails or by any means or instrumentality of interstate

commerce or of any facility of a national securities exchange or otherwise, in contravention of

such rules and regulations as the [SEC] may prescribe as necessary or appropriate in the public

interest or for the protection of investors, to solicit or to permit the use of his name to solicit any

proxy or consent or authorization in respect of any security (other than an exempted security)

registered pursuant to section 12 of this title [15 U.S.C. § 78l].”

       187.    Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that no

proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or

which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. § 240.14a-9.

       188.    Under the direction and watch of the Individual Defendants, the 2023 Proxy

Statement failed to disclose that the Individual Defendants each violated their fiduciary duties to

KeyCorp and its stockholders by, among other things, failing to: (1) implement and maintain an

effective system of internal controls to ensure that the Company was complying with all laws,

rules, and regulations governing KeyCorp’s core operations and making truthful, accurate, and

complete statements regarding its core operations, financial condition, and business prospects; (2)

effectively oversee and monitor the material risks facing the Company; and (3) investigate and

take action when presented with red flags regarding misconduct or the lack of internal controls.




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Further, the Proxy Statement contained false and misleading statements related to risk oversight

by the Board and the Company’s commitment to strong corporate governance principles.

       189.    In the exercise of reasonable care, the Individual Defendants should have known

that by misrepresenting or failing to disclose the foregoing material facts, the statements contained

in the 2023 Proxy Statement were materially false and misleading and omitted material

information.

       190.    The false and misleading statements in, and information omitted from, the 2023

Proxy Statement was material to KeyCorp’s shareholders in determining whether to, among other

things, elect the Individual Defendants to the Board, approve executive compensation, and approve

the KeyCorp Amended and Restated 2019 Equity Compensation Plan.

       191.    The material misstatements and omissions in the Proxy Statement damaged the

Company.

       192.    Plaintiff, on behalf of KeyCorp, seeks relief for damages inflicted upon the

Company based on the misleading 2023 Proxy Statement in connection with the improper election

of the Individual Defendants, the approval of executive compensation, and the approval of the

KeyCorp Amended and Restated 2019 Equity Compensation Plan.

                                          COUNT TWO
                                Against the Individual Defendants
                                 for Breach of Fiduciary Duties

       193.    Plaintiff incorporates by reference and realleges each allegation contained above,

as though fully set forth herein.

       194.    The Individual Defendants owed and owe fiduciary duties to KeyCorp. By reason

of their fiduciary relationships, the Individual Defendants specifically owed and owe KeyCorp the

highest obligation of good faith and loyalty in the administration of KeyCorp’s affairs. The Board

also had specific fiduciary duties as defined by the Company’s corporate governance documents
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and principles that, had they been discharged in accordance with the Board’s obligations, would

have prevented the misconduct and consequential harm to KeyCorp alleged herein.

       195.    The Individual Defendants ignored their obligations under state and federal law.

The Individual Defendants failed to make a good faith effort to correct the problems or prevent

their recurrence.

       196.    The Individual Defendants each violated their fiduciary duties to KeyCorp and its

stockholders by, among other things, failing to: (1) implement and maintain an effective system

of internal controls to ensure that the Company was complying with all laws, rules, and regulations

governing KeyCorp’s core operations and making truthful, accurate, and complete statements

regarding its core operations, financial condition, and business prospects; (2) effectively oversee

and monitor the material risks facing the Company; and (3) investigate and take action when

presented with red flags regarding misconduct or the lack of internal controls. As a direct and

proximate result of the Individual Defendants’ breaches of their fiduciary obligations, KeyCorp

has sustained and continues to sustain significant damages and its reputation has been irreparably

damaged.

       197.    As a result of the misconduct alleged herein, the Individual Defendants are liable

to the Company. Plaintiff on behalf of KeyCorp has no adequate remedy at law.

                                      COUNT THREE
                            Against the Individual Defendants for
                    Contribution for Violations of 21D of the Exchange Act

       198.    The conduct of the Individual Defendants, as described herein, has exposed the

Company to significant liability under various federal securities laws by their misconduct.

       199.    KeyCorp is named as a defendant in a related securities class action lawsuit that

alleges and asserts claims arising under the federal securities laws. The Company is alleged to be

liable to private persons, entities and/or classes by virtue of many of the same facts alleged herein.
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If KeyCorp is found liable for violating the federal securities laws, the Company’s liability will

arise in whole or in part from the intentional, knowing, or reckless acts or omissions of all or some

of the Individual Defendants as alleged herein, who have caused the Company to suffer substantial

harm through their misconduct. The Company is entitled to contribution and indemnification from

the Individual Defendants in connection with all claims that have been, are, or may be asserted

against the Company by virtue of their wrongdoing.

        200.    As officers and directors, the Individual Defendants had the power or ability to, and

did, control or influence, either directly or indirectly, KeyCorp’s general affairs, including the

content of its public statements, and had the power or ability to directly or indirectly control or

influence the specific corporate statements and conduct that violated the federal securities laws.

        201.    The Individual Defendants are liable under § 21D of the Exchange Act, which

governs the application of any private right of action for contribution asserted pursuant to the

federal securities laws.

        202.    The Individual Defendants have damaged the Company and are liable to the

Company for contribution.

                                         COUNT FOUR
                                Against the Individual Defendants
                                    for Aiding and Abetting

        203.    Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        204.    Each of the Individual Defendants has acted and is acting with knowledge of or

with reckless, or grossly negligent, disregard to the fact that the Individual Defendants are in

breach of their duties to the Company and have participated in such breaches of duties.

        205.    In committing the wrongful acts, each of the Individual Defendants has pursued or

joined in the pursuit of a common course of conduct. They have acted in concert with and
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conspired with one another in furtherance of their common plan or design. In addition to pursuing

the wrongful conduct that gives rise to their primary liability, the Individual Defendants also aided

and abetted, and/or assisted, each other in breaching their respective duties.

         206.    Because the actions described herein occurred under the Board’s supervision and

authority, each of the Individual Defendants played a direct, necessary, and substantial part in the

conspiracy, common enterprise, and/or common course of conduct complained of herein.

         207.    Each of the Individual Defendants aided and abetted each other and rendered

substantial assistance in the wrongs complained of herein.

VIII.           PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

         (a)     Declaring that Plaintiff may maintain this action on behalf of KeyCorp and that

Plaintiff is an adequate representative of the Company;

         (b)     Declaring that the Individual Defendants violated Section 14(a) and Section 21D

of the Exchange Act;

         (c)     Declaring that the Individual Defendants have breached and/or aided and abetted

the breach of their fiduciary duties to KeyCorp;

         (e)     Directing the Company to take all necessary actions to reform and improve its

internal controls and Board oversight;

         (f)     Determining and awarding to KeyCorp the damages sustained by it as a result of

the violations set forth above from each of the Individual Defendants, jointly and severally,

together with pre-judgment and post-judgment interest thereon;




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       (g)     Ordering disgorgement of profits, benefits, and other compensation, including any

performance-based or valuation-based compensation, obtained by the Individual Defendants due

to their wrongful conduct and breach of their fiduciary duties;

       (h)     Awarding KeyCorp restitution from the Individual Defendants, and each of them;

       (i)     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and experts’ fees, costs, and expenses; and

       (j)     Granting such other and further relief as the Court may deem just and proper.

IX.          JURY DEMAND

       Plaintiff hereby demands a trial by jury in this action of all issues so triable.

Dated: November 20, 2023                           Respectfully submitted,

OF COUNSEL:                                        /s/ John C. Camillus_________________
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